                 Case: 2:22-mj-00380-EPD Doc #: 1 Filed: 05/27/22 Page: 1 of 17 PAGEID #: 1

  AO I06A (0811 8) Applicauon for a Warrant by Telephone or Other Reliable Electronic Means
                                                                                                                      Litton/Shimeall

                                        UNITED STATES DISTRICT COURT
                                                                           for the
                                                             Southern District of Ohio

                 In the Matter of the Search of                                )
            (Briefly describe the property to be searched                      )
             or identify the person by name and address)                       )              Case No.    2:22-mj-380
          2014 dark blue Dodge Charger, VIN#                                   )
     2C3CDXBG1EH265182, bearing Ohio license plate                             )
                                                                               )
                       DEUCE17

      APPLICATION FOR A WARRANT BY TELEPHONE OR OTHER RELIABLE ELECTRONIC MEANS
           I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
   penalty of perjury that I have reason to believe that on the following person or property (identify the person or describe the
  property to be searched and give its location).
    2014 dark blue Dodge Charger, VIN# 2C3CDXBG1 EH265182, bearing Ohio license plate DEUCE17

   located in the            Southern                                     - - - - - - - , there is now concealed
                                                    District of - - - - - Ohio                                   (identify the
  person or describe /he property lo be seized):
    SEE ATTACHMENT A, incorporated here by reference .


             The basis for the search under Fed. R. Crim. P. 4 l(c) is (check one or more) :
                    tf evidence of a crime;
                    ff contraband, fruits of crime, or other items illegally possessed;
                    if property designed for use, intended for use, or used in committing a crime;
                    0 a person to be arrested or a person who is unlawfully restrained.
             The search is related to a violation of:
                 Code Section                                                                 Offense Description
           18 U.S.C. § 922 (a)(S)                   -Transferring a Firearm to an Out-of-State Resident
           18 U.S.C. § 922 (a)(1)(A)                -Engaging in the Business of Dealing in Firearms Without a License
           18 u.s.c. § 371                          -Conspiracy
            The application is based on these facts:
           SEE ATTACHED AFFIDAVIT, incorporated here by reference.


             0 Continued on the attached sheet.
             •    Delayed notice of        days (give exact ending dale if more than 30 days ;
                  18 U.S.C. § 3103a, the basis of which is set forth on the




                                                                                                   Teresa Petit, ATF Special Agent
                                                                                                         Printed name and lille



Facetime/

   Date:         May 27, 2022

   City and state:        Columbus, Ohio
    Case: 2:22-mj-00380-EPD Doc #: 1 Filed: 05/27/22 Page: 2 of 17 PAGEID #: 2




                               UNITED STATES DISTRICT COURT
                                NORTHERN DISTRICT OF OHIO

  IN THE MATTER OF THE APPLICATION                                  UNDER SEAL
  OF THE UNITED ST ATES OF AMERICA
  FOR SEARCH AND SEIZURE WARRANTS

                            AFFIDAVIT IN SUPPORT OF AN
                        APPLICATION FOR A SEARCH WARRANT

       I, Teresa J. Petit, a Special Agent with the Bureau of Alcohol, Tobacco, Firearms and

Explosives, being duly sworn, deposes and states:

                      INTRODUCTION AND AGENT BACKGROUND

       l.      I am an "investigative or law enforcement officer of the United States" within the

meaning of Section 2510(7) of Title l 8, United States Code, that is, an officer of the United States

who is empowered by law to conduct investigations of and to make arrests for offenses enumerated

in Section 2516 of Title 18.

      2.       I am a Special Agent with the Bureau of Alcohol, Tobacco, Firearms and

Explosives ("ATF"), and have been so since 2014, and I am currently assigned to the Columbus,

Ohio, Field Office.

      3.       I have participated in numerous investigations focusing on firearms trafficking,

gangs, and the distribution of illegal narcotics. I have conducted covert surveillance of suspected

traffickers, interviewed numerous individuals involved in gangs, the illegal firearms trade, and/or

narcotic trafficking trade. I been a member of surveillance teams, participated in the execution of

numerous state and federal search and arrest warrants involving firearms and/or illegal narcotic

traffickers and violent offenders, and participated in the seizure of numerous firearms and

controlled dangerous substances. Through my training, education, and experience, I have become

familiar with the manner in which firearms intended for criminal use are transported, stored, and
     Case: 2:22-mj-00380-EPD Doc #: 1 Filed: 05/27/22 Page: 3 of 17 PAGEID #: 3




resold, similar to the transportation, storage and distribution of illegal narcotics. I am also familiar

with the methods of payment for such unlawful transfers of firearms and the distribution and the

manner in which firearms and/or narcotic traffickers communicate with each other.

      4.       The facts in this Affidavit come from my personal observations, my training and

experience, and information obtained from other agents, police officers, witnesses, telephone

records, and reports. This Affidavit is intended to show merely that there is sufficient probable

cause for the requested warrant and does not set forth all of my knowledge about this matter.

       5.       Based on the facts set forth in this Affidavit, there is probable cause to believe that

Martino D. LORENZI, (hereinafter "LORENZI''), Anthony D. REDMOND (hereinafter

"REDMOND"), Charles L. JACKSON, (hereinafter "JACKSON") and others have committed

violations of the following federal laws: 18 U.S.C. § 922(a)(5), that is, transferring a firearm to an

out-of-state resident; 18 U.S.C. § 922(a)(l)(A), that is, engaging in the business of dealing in

firearms without a license; 18 U.S.C. § 2, that is, aiding, abetting, counseling, commanding, or

soliciting a criminal act; and 18 U.S.C. § 371, that is, two or more persons conspiring to commit

any offense against the United States (all of the above offenses are collectively referred to

throughout as the TARGET OFFENSES); and that execution of this search warrant will lead to

evidence of these crimes.

       6.       I have not included all of the information relevant to the investigation in this

Affidavit, but I do not believe that I have omitted any information that would have a tendency to

defeat a showing of probable cause. To the best of my knowledge and belief, all statements made

in this Affidavit are true and correct.

                                 PURPOSE OF THE AFFIDAVIT

       7.       This Affidavit is being submitted in support of an application for a warrant to search



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    Case: 2:22-mj-00380-EPD Doc #: 1 Filed: 05/27/22 Page: 4 of 17 PAGEID #: 4




the vehicle further described as a 2014 dark blue Dodge Charger, VIN# 2C3CDXBG 1EH265182,

bearing Ohio license plate DEUCE 17 (hereinafter "TARGET VEHICLE"), that is currently

located in Columbus, OH.

      8.       I submit pursuant to the facts set forth in this Affidavit that there is probable cause

to believe that LORENZI, REDMOND, JACKSON and others are engaged in the TARGET

OFFENSES and that the lawful execution of the search warrant sought herein will lead to

additional evidence that LORENZI, REDMOND, JACKSON and other individuals unknown are

engaged in such crime(s). The execution of a search warrant on the TARGET VEHICLE will

aid in developing further evidence of the conspirators' firearm trafficking activities, including

further establishing a pattern of LORENZI, REDMOND, JACKSON and others unknown in their

firearm trafficking activities, determining meeting locations, and identifying customers and other

members of the firearm distribution conspiracy, as well as their residence(s) and/or stash-house(s).

                               FACTS AND CIRCUMSTANCES

      9.       Your Affiant has participated in the investigation of the above and below-described

offenses. Based upon my own personal participation in the investigation, as well as information

obtained from other law enforcement officials, I am familiar with the facts and circumstances of

this investigation. Your Affiant makes this Affidavit based, in part, on my personal knowledge

and observations derived from my participation in this investigation and, in part, upon information

provided to me by other law enforcement officers.

       10.     Because this Affidavit is being submitted for the limited purpose of seeking

authorization to execute a search warrant on the TARGET VEHICLE, I have not set forth each

and every fact learned during the course of this investigation. I am not relying upon facts not set

forth herein in reaching my conclusion that a warrant should be issued. Nor do I request that this



                                                  3
     Case: 2:22-mj-00380-EPD Doc #: 1 Filed: 05/27/22 Page: 5 of 17 PAGEID #: 5




Court rely upon any facts set forth herein in reviewing this Affidavit in support of the application

for a search warrant.

       11.     The investigation has indicated that Brian CUNNINGHAM, Mariah CUTLIP,

Walter RATHBURN (W. RATHBURN), Tyson RATHBURN (T. RATHBURN), Martino D.

LORENZI, and others, have committed violations of the TARGET OFFENSES.

       12.     In approximately mid-December 2021, CUNNINGHAM's large volume of firearm

purchasing came to the attention of ATF and other law enforcement officials. By way of summary

background, the investigation has indicated that CUNNINGHAM had, between approximately

July of 2021 and January 5, 2022, purchased approximately 238 firearms.

       13.     The investigation has indicated that CUNNINGHAM stores firearms at his

residence. On or about January 5, 2022, CUNNINGHAM voluntarily sat down with Your Affiant

and other law enforcement to discuss his high-volume acquisitions, specifically that his high-

volume acquisitions were of repeated type, manufacturer, and model of firearms. Your Affiant is

aware from training and experience that these types of high-volume purchases in a short period of

time, where the guns are of a similar type, manufacturer, and model, is indicative of straw

purchases and/or firearms trafficking. During this interview CUNNINGHAM described himself

as a firearm collector. He explained he was investing in firearms as a retirement investment and

only periodically resold firearms from his "private collection" that he was no longer interested in.

During this conversation CUNNINGHAM indicated that he stores his "private collection" in a

large safe inside his garage located at his residence. Law enforcement explained to

CUNNINGHAM that if he decides to make a profit selling his firearms in the future that he would

need to apply for a Federal Firearms License (FFL). Following the interview, CUNNINGHAM

forwarded law enforcement numerous photographs, which he indicated were from inside his



                                                  4
     Case: 2:22-mj-00380-EPD Doc #: 1 Filed: 05/27/22 Page: 6 of 17 PAGEID #: 6




house, depicting various firearms located in safes.

      14.      Between the dates of on or about March 4 through on or about March 11, 2022,

CUNNINGHAM purchased approximately sixty-five (65) firearms from the same FFL located in

the Southern District of Ohio. Those firearms were purchased across three (3) different

transactions. The purchases accounted for: ten ( 10) Taurus-manufactured, G3C model, 9mm

caliber, semi-automatic handguns; twenty-four (24) SCCY Industries, model CPX-2, semi-

automatic handguns; twenty-three (23) Glock-manufactured, semi-automatic handguns in various

models and calibers; and eight (8) Smith and Wesson-manufactured, M&P 9 model, 9mm caliber,

semi-automatic handguns. Again, through training and experience, Your Affiant is aware that an

individual who engages in repetitive acquisition of similar firearms is an indicator of someone

acquiring the firearms for resale.

       15.     On or about March 16, 2022, CUTLIP entered an FFL located in the Southern

District of Ohio and purchased a total of sixty-seven (67) firearms between two transactions. One

transaction accounted for six (6) Taurus-manufactured, model G3C, 9mm, semi-automatic,

handguns. The second transaction accounted for a total of sixty-one (61) firearms. Of those sixty-

one (61) firearms, nineteen (19) were Taurus-manufactured, model G3C, 9mm, semi-automatic

handguns; forty (40) were SCCY Industries-manufactured, model CPX-2, 9mm, semi-automatic

handguns; and two (2) were Ruger-manufactured, model 57, 57 caliber, semi-automatic handguns.

Your Affiant knows through training and experience that these firearms are not a firearm model

typically collected, given that they are viewed as items that are not hard to acquire. Through

further investigation, investigators learned that CUTLIP transferred the firearms from her

possession within hours of the purchase to T. RATHBURN.

       16.      On or about March 21, 2022, investigators spoke with the owner of the FFL where



                                                  5
    Case: 2:22-mj-00380-EPD Doc #: 1 Filed: 05/27/22 Page: 7 of 17 PAGEID #: 7




CUTLIP completed her transaction. During the conversation with that FFL, investigators learned

that CUTLIP's order for the sixty-seven (67) firearms was placed by another individual further

identified as Brian CUNNINGHAM. CUNNINGHAM contacted the FFL to place the order for

the firearms, provided CUTLIP's full name and address, and acted as a middleman between

CUTLIP and the FFL.      The FFL stated that once the order was complete, he/she notified

CUNNINGHAM that the order was ready for pick-up, and soon thereafter CUTLIP came to the

location to complete the purchase. The FFL stated that CUTLIP's transaction was approximately

$9,030.00 and was paid entirely in cash provided by CUTLIP.

      17.     Continuing on or about March 21, 2022, investigators again spoke with the owner

of the FFL and learned that CUNNINGHAM had placed an order approximately two weeks prior

through another individual later identified as W. RATHBURN. The FFL stated he/she received a

text message from CUNNINGHAM with a picture of handwritten notes that contained the firearm

order with the name •·waiter" written on it.    Investigators located records that indicate W.

RATHBURN had purchased approximately fifty-two (52) firearms between three (3) separate

transactions on or about March 11, 2022. Of those fifty-two (52) firearms: thirty-six (36) were

SCCY Industries-manufactured, model CPX-2, 9mm caliber, semi-automatic handguns; and

sixteen ( 16) were Glock-manufactured, semi-automatic handguns in various models and caliber.

Investigators learned that W. RATHBURN' s firearm transactions came to a combined

approximate total of $13,270. Investigators learned that, on one of the occasions, CUNNINGHAM

accompanied both W. RATHBURN and T. RATHBURN to the FFL; and, after departing from

the FFL, most of the firearms were then transferred to CUNNINGHAM with T. RATHBURN

retaining some.

       18.     Your Affiant is aware from training and experience that the above-described



                                               6
     Case: 2:22-mj-00380-EPD Doc #: 1 Filed: 05/27/22 Page: 8 of 17 PAGEID #: 8




transactions bear strong indicators of illegal straw purchasers. By way of background, pursuant to

federal law and regulation, the FFL is required to obtain a completed ATF Form 4473 (the

"Firearms Transaction Record") from the actual purchaser of a firearm before the FFL can transfer

or sell a firearm to any unlicensed person. 18 U.S.C. § 923(g); 27 C.F.R. § 478.124. ATF Form

4473 gathers a host of information about the purchaser, including information to determine if the

purchaser may lawfully possess a firearm. FFLs also may not transfer a firearm to an unlicensed

person without first conducting a background check through the National Instant Check System

(NICS) and recording the information on the ATF Form 4473. 18 U.S.C. § 922(t); 27 C.F.R. §

478.102. The NICS process is run by the Federal Bureau of Investigation (FBI) and provides the

mechanism through which FFLs determine whether a particular purchaser is prohibited from

possessing firearms. Providing false or misleading information to an FFL in connection with the

acquisition of a firearm, e.g., lying on the ATF 4473, is violation of federal law. 18 U.S.C. §

922(a)(6). Additional information asked on the ATF 4473 includes the following question: "Are

you the actual transferee/buyer of thefirearm(s) listed on this form and any continuation sheet(s)

(ATF Form 5300.9A)?" A bold warning is also provided with this question: "You are not the

actual transferee/buyer if you are acquiring the firearm( s) on behalf of another person. If you are

not the actual transferee/buyer, the licensee cannot transfer the firearm( s) to you." Marking yes

to the above question, and then transferring the purchased firearms to the actual buyer, qualifies

as an illegal straw purchase in violation of 18 U.S.C. § 922(a)(6).

       19.     In my training and experience, it is common for individuals who otherwise intend

to divert the firearm(s) to criminal possession to use a straw purchaser to complete the retail

transaction on their behalf or to acquire firearms from other unlicensed individuals. It is also

common for straw purchasers to receive a benefit of some type-in this situation, a monetary



                                                 7
     Case: 2:22-mj-00380-EPD Doc #: 1 Filed: 05/27/22 Page: 9 of 17 PAGEID #: 9




benefit-to assume the risk of purchasing the firearm. More specifically a "straw" purchase is

described as the acquisition of a firearm(s) from a dealer by an individual (the "straw"), done for

the purpose of concealing the identity of the true intended recipient or transferee of the firearm(s).

Investigators learned that both CUTLIP and W. RATHBURN completed the ATF Form 4473

during their respective firearms purchases. During the continued investigation, investigators

learned that CUNNINGHAM was seeking individuals who would pick up firearm orders for

compensation of approximately $500.

       20.     On or about March 22, 2022, investigators learned that a firearm originally

purchased by W. RATHBURN on or about March 11, 2022, was recovered by law enforcement

officials in Rochester, New York. The time-to-crime recovery for this firearm is approximately

ten ( I 0) days. Your Affiant knows from training and experience that a 10-day time-to-crime is a

short amount of time and is an indicator of firearms trafficking. Most individuals who purchase

firearms retain them for extended periods, up to years in length. Therefore, whenever a firearm is

recovered in a criminal offense shortly after it was purchased, it is highly likely that the firearm

was diverted to the criminal possession in some sort of firearm-trafficking scheme. Your Affiant

also knows from training and experience that a shorter time-to-crime period (that is, anything under

a year) for the firearm recovery is an indicator that the original purchaser was in fact a straw

purchaser who knowingly transferred the firearm to another individual after the purchase.

Moreover, relevant here, Your Affiant is further aware from training and experience that, when

firearms are recovered outside of the original purchase state with a such a short time-to-crime, it

is an indicator of conduct violative of 18 U.S.C. § 922(a)(5) (transfer of firearm(s) to an out-of-

state resident).

       21.         On or about March 22, 2022, investigators executed a Federal search warrant at



                                                   8
   Case: 2:22-mj-00380-EPD Doc #: 1 Filed: 05/27/22 Page: 10 of 17 PAGEID #: 10




CUNNINGHAM's residence. During the execution of the search warrant investigators learned

that additional documents and items of evidence had been thrown away in a nearby dumpster.

Investigators searched the dumpster and recovered two (2) receipt books that documented

numerous firearms sales. One name observed in the receipt book was LORENZI and the second

was "Apollo." 1 The investigation has indicated that LORENZI is a resident of the Cleveland, Ohio

area. Additionally, investigators learned another purchaser was Anthony REDMOND, another

resident of Cleveland, Ohio. Further related to LORENZI, REDMOND, and JACKSON, the

investigation has demonstrated that all three individuals have, on occasion, traveled from Northern

Ohio to the Columbus area to obtain firearms from both T. RATHBURN and/or CUNNINGHAM

as part of the illegal activities outlined in this Affidavit. To that end, investigators have identified

that LORENZI, REDMOND, and JACKSON have done so with regard to more than 116 firearms,

to include the firearms recovered in New York. Investigators also recovered three (3) additional

receipts that documented firearm purchases by REDMOND between the dates of March 5- 14,

2022. When CUNNINGHAM and T. RATHBURN conducted their sale of firearms with

LORENZI and REDMOND, LORENZI and REDMOND displayed an Ohio driver's license. The

investigation has indicated that REDMOND is a prior convicted felon.

       22.      The investigation has also led to the review of separate cellular conversations

between T. RATHBURN and LORENZI, as well as T. RATHBURN and JACKSON, which

provide further evidence of the arrangements and purchases of the firearms. The text messages

indicate, for example, that LORENZI, and others, were placing orders with T. RATHBURN and

others for the purchase of a number of the firearms at issue, and then arranging for the transfer of



        1 Between the dates of March 24 and April 13, 2022, Investigators utilized multiple Jaw enforcement and

open-source databases in conjunction with the data collected from the Pen Register/ Ping Order associated with
LORENZI's telephone, and other law enforcement officers to identify "Apollo" as Charles L. JACKSON (B/M: DOB:
IO/XX/1994).

                                                      9
   Case: 2:22-mj-00380-EPD Doc #: 1 Filed: 05/27/22 Page: 11 of 17 PAGEID #: 11




the firearms from T. RATHBURN to others associated with LORENZI. Both cellular telephone

numbers utilized to communicate with T. RATHBURN were determined by investigators to be

Voice Over IP (VOiP) and/or secondary text messaging applications and not originating from a

cellular provider, all of which functioned to encrypt the communications. Your Affiant knows

through training and experience that the use of secondary texting and VOiP telephone numbers is

a method often used to conceal identity and, depending on the circumstances, is a step taken to

elude law enforcement detection.

       23.       Moreover, the above-described text messages between T. RATHBURN and

LORENZI indicate that LORENZI himself and others have traveled from Northern Ohio to the

Southern District of Ohio to pick up firearms.              The investigation has further indicated that

LORENZI did so driving a dark blue Dodge Charger. 2

       24.       Also relevant here, the investigation has indicated that additional firearms related

to the allegations in this Affidavit have been recovered in the State of New York. In or around

March of 2022, a total of two undercover purchases of firearms and a search warrant of a residence

were conducted by law enforcement in the State of New York, which yielded the seizure of

multiple firearms traced back to purchases made by W. RATHBURN, T. RATHBURN and/or

CUTLIP.

       25.       Investigators conducted a query of ATF databases, which returned negative results

for CUNNINGHAM, CUTLIP, W. RATHBURN,, T. RATHBURN, JACKSON, LORENZI, or

REDMOND having any current affiliations related to ownership or licensing with other FFLs.

       26.       From on or about March 30 through on or about March 31, 2022, investigators




         2 Further investigation by law enforcement officials were able to determine Martino LORENZI is the owner
of a dark blue Dodge Charger bearing Ohio license plate DEUCE 17, with a registered address of 3613 Hildana Road,
Cleveland, Ohio.

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   Case: 2:22-mj-00380-EPD Doc #: 1 Filed: 05/27/22 Page: 12 of 17 PAGEID #: 12




conducted surveillance at several locations in the Greater Cleveland area in an attempt to locate a

dark blue Dodge Charger bearing Ohio license plate DEUCEl 7, known to be operated by Martino

LORENZI. On or about March 30, 2022, shortly after beginning surveillance, the TARGET

VEHICLE was observed backing into the driveway of 3613 Hildana Road. The driver of the

vehicle was observed exiting the driver's door carrying what appeared to be grocery style bags

into the residence using the door on the North side of the residence, which is directly off the

driveway. After a while, a black male, fitting the physical description of Martino LORENZI,

exited the residence and entered the driver's seat of the TARGET VEHICLE. Mobile

surveillance began of the TARGET VEHICLE and within a short period of time, investigators

were able to confirm LORENZI was operating the TARGET VEHICLE. On or about March 31,

2022, investigators conducted additional surveillance, during which they observed the TARGET

VEHICLE parked in the driveway of 3613 Hildana Road. Investigators observed LORENZI exit

the residence and enter the driver's seat of the TARGET VEHICLE. Investigators conducted

mobile surveillance of LORENZI until he returned to his residence.

      27.      More recently, on April 12, 2022, ATF SIA Penfield obtained a federal search

warrant for a GPS tracker on the TARGET VEHICLE. The warrant was signed by United States

Magistrate Judge William H. Baughman Jr. for the Northern District of Ohio. On April 16, 2022,

ATF Special Agents from the Cleveland Field Office executed the tracker warrant by installing a

GPS tracker unit on the TARGET VEHICLE at LORENZI's residence located at 3613 Hildana

Road, Shaker Heights, Ohio 44120.

      28.      On April 20, 2022, investigators conducted surveillance at several locations in the

Greater Cleveland area. Throughout surveillance, investigators observed LORENZI operating the

dark blue Dodge Charger driving around the Greater Cleveland area. At approximately 4:00PM,



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   Case: 2:22-mj-00380-EPD Doc #: 1 Filed: 05/27/22 Page: 13 of 17 PAGEID #: 13




investigators observed the Dodge Charger backed into the driveway of the LORENZI's residence

and LORENZI standing at the trunk of the Charger.

      29.      Between the dates of approximately March 25, 2022, and May 26, 2022, LORENZI

with others coordinated the purchase of sixteen ( 16) SCCY Industries, model CPX-2, 9mm, semi-

automatic handguns for $5,200. This coordination included text messages and a telephonic

conversation with an ATF SA acting in an undercover (UC) capacity to arrange the purchase for

May 26, 2022. On May 25, 2022, your affi.ant observed LORENZI operating the TARGET

VEHICLE in and around the area of his listed residence in Shaker Heights, Ohio.

      30.      In the early morning of May 26, 2022, the GPS tracker affixed to the TARGET

VEHICLE indicated that the vehicle departed from Hildana Avenue and traveled to the area of

Stickney Avenue, which is where investigators have identified a residence associated to

JACKSON. Soon after, the GPS tracker data indicated the vehicle was at Huntington Bank located

on Ridge Road, Cleveland, OH. The TAR GET VEHICLE then traveled south on I-71 from

Cleveland, OH to Columbus, OH.         At approximately, 10:28AM investigators observed the

TARGET VEHICLE arrive at the location provided by the ATF UC. Surveillance units observed

that LORENZI was operating the vehicle and was accompanied by two other individuals, later

identified as JACKSON and Jadden BEDELL.

      31.      Continuing on May 26, 2022, JACKSON, LORENZI, and BEDELL engaged with

the ATF UC SA's and exchanged U.S. currency for the previously arranged purchase of sixteen

(16) SCCY Industries firearms. Both JACKSON and BEDELL wrote information on a Bill of

Sale document provided by the ATF UC SA. After the transaction, LORENZI and JACKSON

were arrested and BEDELL was temporarily detained. The TARGET VEHICLE was towed to

a secure location and is being held pending the receipt of a search warrant.



                                                12
   Case: 2:22-mj-00380-EPD Doc #: 1 Filed: 05/27/22 Page: 14 of 17 PAGEID #: 14




      32.      Based on the allegations laid out in this Affidavit, the investigation indicates that

LORENZI, REDMOND, JACKSON and others, are working with CUNNINGHAM, T.

RATHBURN, and others, to purchase firearms in the Southern District of Ohio. Some of those

firearms are then transmitted to LORENZI, REDMOND, JACKSON, and others. Some of those

firearms are then transferred to Northern Ohio and outside the State of Ohio, namely, to New York.

      33.      Your Affiant knows based on training and experience that individuals who possess

firearm and ammunition often possess other items commonly used or acquired in connection with

the possession of firearms and ammunition. Some of these items include, but are not limited to,

other firearms, firearm parts, additional ammunition, firearm receipts, firearms brochures or

owner's manuals, records of sale or acquisition of firearms, firearms magazines, and holsters.

      34.      Your Affiant knows based on training and experience that individuals who possess

the above-described items (i.e., firearms, ammunition, and other items commonly used or acquired

in connection with the possession of firearms and ammunition) often store those items-including

firearms and ammunition-in their homes or cars, so that the firearms and ammunition are easily

accessible. Your Affiant is also aware that firearms are durable and non-perishable goods, which

can be expected to remain in the individual's possession for extended periods of time. Your Affiant

further knows based upon training and experience that individuals who possess the above-

described items (i.e., firearms, ammunition, and other items commonly used or acquired in

connection with the possession of firearms and ammunition) often store information related to

those items (e.g., receipts documenting the purchase or re-sale of the items) on their computers or

cellular phones.

       35.     Your affiant knows that a person who purchases firearms may store those items,

documents related to the acquisition of the firearms, or other related material in their vehicle or at



                                                  13
   Case: 2:22-mj-00380-EPD Doc #: 1 Filed: 05/27/22 Page: 15 of 17 PAGEID #: 15




any associated residence. It is reasonable that the TARGET VEHICLE may contain evidence

that will aid in developing further evidence of the conspirators' firearm trafficking activities,

including further establishing a pattern of LORENZI, REDMOND, and JACKSON, and others

unknown in their firearm trafficking activities.

                                         CONCLUSION

       36.     Based upon the information set forth in this Affidavit, I submit there is probable

cause to believe that the individuals identified as Martino D. LORENZI, Anthony D. REDMOND,

and Charles L. JACKSON, and others have violated the following federal laws: 18 U.S.C.

§ 922(a)(5), that is, transferring a firearm to an out-of-state resident; 18 U.S.C. § 922(a)(l)(A),

that is, engaging in the business of dealing in firearms without a license; 18 U.S.C. § 2, that is,

aiding, abetting, counseling, commanding, or soliciting a criminal act; and 18 U .S.C. § 371, that

is, two or more persons conspiring to commit any offense against the United States. Your Affiant

further submits there is probable cause to believe that the property and premises located in the

TARGET VEHICLE contains evidence and instrumentalities of violations of the TARGET

OFFENSES, namely: evidence of a crime; contraband, fruits of a crime, or other items illegally

possessed; property and materials designed for use, intended for use, or used in committing

violations of those statutes.

       37.      Accordingly, Your Affiant respectfully requests this Court issue a warrant

authorizing the search of the TARGET VEHICLE currently located in Columbus, OH and

authorization to search for and seize the items described in Attachment A hereto, incorporated

herein by reference.

        38.     Manner of execution. Because this warrant seeks only permission to search a

vehicle already in law enforcement's possession, the execution of this warrant does not involve



                                                   14
   Case: 2:22-mj-00380-EPD Doc #: 1 Filed: 05/27/22 Page: 16 of 17 PAGEID #: 16




the physical intrusion onto a premises. Consequently, I submit there is reasonable cause for the

Court to authorize execution of the warrant at any time in the day or night.

      39.      Your Affiant further requests that this Court issue an order sealing, until further

order of the Court, all papers submitted in support of this application, including the application

and search warrant. Your affiant believes that sealing this document is necessary because the items

and information to be seized are relevant to an ongoing investigation into criminal activity, the

entire extent of which is not known at this time. Based upon my training and experience, and

information I have received from ATF and other law enforcement agents, your affiant knows that

criminals actively search for criminal affidavits and search warrants via the internet, and

disseminate them to other criminals as they deem appropriate, e.g., post them publicly online

through different forums. Premature disclosure of the contents of this Affidavit and related

documents may have a significant and negative impact on the continuing investigation and may

severely jeopardize its effectiveness



                                               Teresa Petit
                                               Special Agent
                                               Bureau of Alcohol Tobacco, Firearms and
                                               Explosives




This Affidavit was sworn to by the affiant
by telephone after a PDF was transmitted
by email, per Crim R. 41(d)(3) on
this 27th
     __ day of May 2022.
   Case: 2:22-mj-00380-EPD Doc #: 1 Filed: 05/27/22 Page: 17 of 17 PAGEID #: 17




                                         ATTACHMENT A

         1.      Based upon the above information, Your Affiant has probable cause to believe that
now contained within the 2014 dark blue Dodge Charger bearing Ohio plate DEUCE 17, within the
Southern District of Ohio, are items as described below in attachment A, which constitute evidence
of the following federal laws: 18 U.S.C. § 922(a)(5), that is, transferring a firearm to an out-of-state
resident; 18 U.S.C. § 922(a)(l)(A), that is, engaging in the business of dealing in firearms without a
license; 18 U.S.C. § 2, that is, aiding, abetting, counseling, commanding, or soliciting a criminal act;
and 18 U.S.C. § 371, that is, two or more persons conspiring to commit any offense against the United
States, to include, but are not limited to:

        (a)     Ammunition and firearms such as pistols, revolvers, or those items similar in type
                to the recovered firearms and or records of firearms purchased on or before March
                2022 through April 26, 2022, as defined by 18 USC § 921;
        (b)     Any and all documents, records, boxes or indicia related to the purchase, sale,
                transfer or transportation of firearms and/or ammunition;

        (c)     Log books, records, payment receipts, notes, and/or computer lists, ledgers, sales
                tags and other papers relating to the purchasing, ordering, processing, storage, and
                distribution of firearms including all records of income and expenses;

        (d)     Electronic equipment, such as pagers, telephone answering machines, telephone
                caller identification boxes, video and audiocassette tapes, fax machines, electronic
                media (computers, floppy disk, disks etc), and any stored electronic data and/or
                communications contained therein;

        (e)    Cellular telephone(s) and/or portable cellular telephone(s) and any stored electronic
               data and/or communications contained therein;

        (f)     Indicia of occupancy, rental and/or ownership of TARGET VEHICLE, including
                but not limited to bills, cancelled envelopes, keys, deeds, purchase lease
                agreements, contracts, titles and vehicle registrations;

        (g)     The opening, search and removal, if necessary, of any safe or locked receptacle or
                compartment, as some or all of the property heretofore may be maintained and

        (h)     Any other items which constitute evidence of crimes of the TARGET OFFENSES.




                                                   16
